             2:23-cr-20023-CSB-EIL     # 91    Filed: 01/24/25     Page 1 of 1
                                                                                           E-FILED
                                                    Monday, 27 January, 2025 02:55:18 PM
                      IN THE UNITED STATES DISTRICT COURT Clerk, U.S. District Court, ILCD
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
               Plaintiff,                 )
                                          )
       vs.                                )      Case No. 23-CR-20023-001
                                          )
BRETT BARTLETT,                           )
                                          )
              Defendant.                  )

                                  ORDER REGARDING RESTITUTION

       THIS MATTER COMING BEFORE THIS COURT, pursuant to Title 18, United

States Code, Section 3664, for an order of restitution, and the Court being fully advised in

the premises based on the Presentence Report, the filings of the parties, and the evidence

and arguments presented during the various hearings in this matter,

       IT IS THEREFORE ORDERED that the defendant shall make restitution to the 690

payees on the attached spreadsheet in the amounts listed therein, in the total amount of

$24,115,185.58, which amount is due and payable immediately, including during the

period of imprisonment. Additionally, the defendant shall make monthly payments of at

least fifty percent of his disposable income per month during the entire term of

supervised release or until the restitution is paid in full. All payments, except those made

through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are

made to the clerk of the court.

                            24th day of January, 2025.
              ENTERED this _______

                                               s/ Colin S. Bruce
                                          ____________________________________
                                          COLIN S. BRUCE
                                          UNITED STATES DISTRICT COURT JUDGE
